  Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 1 of 30




          CLASS ACTION SETTLEMENT AGREEMENT REGARDING KPT
          DRYWALL CLAIMS AGAINST USG AND L&W IN MDL NO. 2047
                          (Subject to Court Approval)

        This Settlement Agreement is entered into by and among the Plaintiffs’ Steering
Committee (“PSC”) appointed in In re Chinese Manufactured Drywall Products Liability
Litigation, MDL No. 2047 (E.D. La.), USG Corporation (“USG”), L&W Supply Corporation
(“L&W”) and the Knauf Defendants as of March 19, 2012.

                                         RECITALS

         WHEREAS, L&W has been named as a defendant in MDL No. 2047 and in state court
litigation, and is alleged to be liable for L&W Supplied KPT Chinese Drywall that was installed
in Affected Properties;

         WHEREAS, USG has been named as a defendant in MDL No. 2047 and in state court
litigation, and is alleged to be liable for L&W Supplied KPT Chinese Drywall that was installed
in Affected Properties;

       WHEREAS, USG and L&W have denied any and all liability for claims arising from the
marketing, distribution, supply, sale, delivery and use of L&W Supplied KPT Chinese Drywall
that was installed in Affected Properties;

      WHEREAS, on or about April 3, 2011, USG and L&W entered into a Settlement
Agreement and Release with the Knauf Defendants that contemplated a Class Settlement of
L&W Supplied KPT Chinese Drywall Claims against L&W (“Knauf/L&W Settlement”);

        WHEREAS, on or about December 20, 2011, the PSC and the Knauf Defendants entered
into a Settlement Agreement Regarding Claims Against the Knauf Defendants in MDL No. 2047
(“Knauf Class Settlement”);

       WHEREAS, the Parties desire to effectuate the Knauf/L&W Settlement by way of this
Settlement;

       WHEREAS, this Settlement is intended to facilitate the Knauf Class Settlement;

       WHEREAS, the Parties intend for Participating L&W Class Members to receive the
Settlement benefits provided herein, consisting of a Cash Payment toward Remediation
Settlement Benefits under the Knauf Class Settlement; and

       WHEREAS, the Parties wish to avoid the effort, expense and risk of continued litigation,
    Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 2 of 30




       NOW, THEREFORE, in consideration of the mutual covenants contained herein and
intending to be legally bound, the Parties stipulate and agree as follows:

                                  TERMS AND CONDITIONS

1       Definitions

        1.1    Parties. “Parties” shall mean USG, L&W, the Knauf Defendants and the Class:

               1.1.1   Knauf Defendants. “Knauf Defendants” shall mean all Knauf entities,
                       including Knauf Gips KG, Knauf Plasterboard (Tianjin) Co. Ltd. (“KPT”),
                       Knauf Plasterboard (Wuhu) Co., Ltd. (“Wuhu”), Guangdong Knauf New
                       Building Material Products Co., Ltd. (“Dongguan”), Knauf International
                       GmbH, Knauf Insulation GmbH, Knauf AMF GmbH & Co. KG, Knauf do
                       Brasil Ltda., Gebrueder Knauf Verwaltungsgesellschaft, KG, and P.T.
                       Knauf Gypsum Indonesia and all of their past, present and future parents,
                       subsidiaries, affiliates, divisions, predecessor, successors, heirs, legal
                       representatives, legatees and/or assigns, together with past, present and
                       future officers, directors, board members, shareholders, members,
                       presidents, managers, partners, employees, distributors, retail dealers,
                       agents, servants, representatives, consultants, in-house or outside
                       attorneys, insurers, and reinsurers.

               1.1.2   L&W. “L&W” shall include L&W Supply Corporation and all of its past,
                       present and future parents, subsidiaries, affiliates, divisions, predecessors,
                       successors, heirs, legal representatives, legatees and/or assigns, together
                       with past, present and future officers, directors, board members,
                       shareholders, members, presidents, managers, partners, employees,
                       distributors, retail dealers, agents, servants, representatives, consultants,
                       in-house or outside attorneys, insurers, and reinsurers, except that the
                       Knauf Defendants shall not be included in the definition of L&W.

               1.1.3   USG. “USG” shall include USG Corporation and all of its past, present
                       and future parents, subsidiaries, affiliates, divisions, predecessors,
                       successors, heirs, legal representatives, legatees and/or assigns, together
                       with past, present and future officers, directors, board members,
                       shareholders, members, presidents, managers, partners, employees,
                       distributors, retail dealers, agents, servants, representatives, consultants,
                       in-house or outside attorneys, insurers, and reinsurers, except that the
                       Knauf Defendants shall not be included in the definition of USG.
Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 3 of 30




          1.1.4   L&W Class; L&W Class Members. “L&W Class,” also referred to as
                  “L&W Class Members,” shall include all persons or entities who are
                  Participating Class Members in the Knauf Class Settlement and who (a) as
                  of December 9, 2011, is a named plaintiff in the Litigation (i.e., not an
                  absent class member) asserting claims arising from or otherwise related to
                  L&W Supplied KPT Chinese Drywall, whether or not L&W and/or USG
                  are named parties to the lawsuit, and (b) own Affected Property. The
                  L&W Class also shall include Multiple Unit Property Governing Bodies to
                  the extent that any unit(s) of a Multiple Unit Property is the subject of a
                  filed lawsuit in the Litigation. L&W Class or L&W Class Member shall
                  not include (a) any person or entity who, has settled claims against L&W
                  and/or USG under the Settlement Agreement for the Demonstration
                  Remediation of Homes with KPT Drywall or under any other settlement
                  with L&W and/or USG (including claims assigned by L&W Class
                  Members that were later settled by the assignee), or (b) any owner of an
                  Affected Property that has already been the subject of a settlement for
                  which L&W has contributed payment either to the current or former
                  owner of the property or to any party to that settlement. A list of
                  settlements to which L&W is a party is attached as Exhibit 1, which will
                  be filed under seal.

    1.2   L&W Class Counsel. “L&W Class Counsel” shall mean Russ Herman and
          Arnold Levin.

    1.3   L&W Class Representatives. “L&W Class Representatives” shall mean Paul
          and Therese Petkin.

    1.4   Counsel. “Counsel” shall mean:

          1.4.1   As to L&W Class Counsel: Russ Herman of Herman Herman Katz &
                  Cotlar LLP, 820 O’Keefe Avenue, New Orleans, LA, 70113, and Arnold
                  Levin of Levin, Fishbein, Sedran & Berman, 510 Walnut Street, Suite 500,
                  Philadelphia, PA, 19106.

          1.4.2   As to the PSC: the group of plaintiffs’ counsel appointed by the
                  Honorable Eldon E. Fallon to manage and administer the affairs of all
                  plaintiffs in MDL No. 2047 and to assist the Court in administering its
                  docket. The PSC, as currently constituted, is described by Pretrial Order
                  No. 8A (Rec. Doc. No. 6960).
Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 4 of 30




           1.4.3   As to USG: W. David Conner of Haynsworth Sinkler Boyd, P.A., P.O.
                   Box 2048, Greenville, SC 29602.

           1.4.4   As to L&W: W. David Conner of Haynsworth Sinkler Boyd, P.A., P.O.
                   Box 2048, Greenville, SC 29602.

           1.4.5   As to the Knauf Defendants: Kerry J. Miller of Frilot LLC, 1100 Poydras
                   Street, Suite 3700, New Orleans, LA 70163, and Steven Glickstein of
                   Kaye Scholer LLP, 425 Park Avenue, New York, NY 10022.

    1.5    Affected Property. “Affected Property” shall mean any real property, residential
           or commercial, containing L&W Supplied KPT Chinese Drywall.

    1.6    Approved Claims. “Approved Claims” shall mean claims submitted by L&W
           Class Members to the Knauf Class Settlement that meet the requirements of this
           Agreement, including the requirements of Section 4.1, and have been approved
           for reimbursement from the Remediation Fund.

    1.7    Cash Payment. “Cash Payment” shall mean an amount equal to $7 per square
           foot of Under Air Area of an Affected Property.

    1.8    Court. “Court” shall mean the Honorable Eldon E. Fallon, who presides over In
           re Chinese Manufactured Drywall Products Liability Litigation, MDL No. 2047,
           in the United States District Court for the Eastern District of Louisiana.

    1.9    Excluded Releasee. “Excluded Releasee” shall mean any person or entity eligible
           to be an Other Releasee that does not participate in the Prospective Insurer
           Agreement or otherwise settle with the PSC and the Knauf Defendants. An
           Excluded Releasee can also be an Other Releasee pursuant to Section 1.26.1.

    1.10   Execution Date. “Execution Date” shall mean March 19, 2012.

    1.11   Inspection Protocol. “Inspection Protocol” shall mean the protocol for
           inspecting properties for KPT Chinese Drywall attached as Exhibit C to the Knauf
           Class Settlement.

    1.12   Knauf Class Settlement. “Knauf Class Settlement” shall mean the Settlement
           Agreement Regarding Claims Against the Knauf Defendants in MDL No. 2047
           entered into between the PSC and the Knauf Defendants as of December 20,
           2011, attached as Exhibit 2.
Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 5 of 30




    1.13   Knauf/L&W Agreement. “Knauf/L&W Agreement” shall mean the Settlement
           Agreement and Release entered into between the Knauf Defendants and USG and
           L&W on or about April 3, 2011, attached as Exhibit 3.

    1.14   KPT Chinese Drywall Claims. “KPT Chinese Drywall Claims” shall mean any
           and all claims made in lawsuits or arbitration proceedings against the Settling
           Defendants arising out of or related to L&W Supplied KPT Chinese Drywall.

    1.15   KPT Drywall Percentage. “KPT Drywall Percentage” shall mean the amount of
           L&W Supplied KPT Chinese Drywall in the Affected Property divided by the
           total amount of L&W Supplied KPT Chinese Drywall and Non-KPT Chinese
           Drywall in the Affected Property rounded to the next highest 10% increment, as
           determined according to paragraph II.C of the Inspection Protocol. For example,
           if the amount of L&W Supplied KPT Chinese Drywall in the Affected Property
           divided by the total amount of L&W Supplied KPT Chinese Drywall and Non-
           KPT Chinese Drywall equals 82%, the KPT Drywall Percentage shall be 90%.
           However, if the amount equals 90%, the KPT Drywall Percentage shall not be
           adjusted upward. Applying this definition, if an inspection of an Affected
           Property reveals that there are 4 boards consisting of L&W Supplied KPT
           Chinese Drywall, 2 boards consisting of Non-KPT Chinese Drywall and 4 non-
           reactive boards in the Affected Property, then the KPT Drywall Percentage will
           be 70% (four L&W Supplied KPT Chinese Drywall boards divided by six total
           L&W Supplied KPT Chinese Drywall boards and Non-KPT Chinese Drywall
           boards, rounded up to the next highest 10% increment).

    1.16   KPT Property. “KPT Property” shall mean any Affected Property in which the
           KPT Drywall Percentage exceeds 90%.

    1.17   L&W Supplied KPT Chinese Drywall. “L&W Supplied KPT Chinese
           Drywall” shall mean any and all drywall purchased from, or distributed, supplied,
           sold, and/or delivered by USG and/or L&W, that was manufactured by KPT and
           is alleged to be defective. “L&W Supplied KPT Chinese Drywall” shall not
           include drywall that was manufactured, sold, marketed, distributed and/or
           supplied by any Knauf Defendant other than KPT.

           1.17.1 Lower-Case L&W Supplied KPT Chinese Drywall. “Lower-Case
                  L&W Supplied KPT Chinese Drywall” shall mean L&W Supplied KPT
                  Chinese Drywall bearing the lower-case “TianJin, China” markings.
                  L&W Class Members with only Lower-Case L&W Supplied KPT Chinese
                  Drywall in their properties shall be eligible for benefits under this
                  Settlement only if the L&W Class Member who owns a particular
Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 6 of 30




                  Property satisfies the requirements of Section 4.9 of the Knauf Class
                  Settlement.

    1.18   Lead Contractor. “Lead Contractor” shall mean the Lead Contractor under the
           Knauf Class Settlement.

    1.19   Litigation. “Litigation” shall mean all Class Action Omnibus Complaints
           (“Omni Complaints”) filed in MDL No. 2047, and all Related Actions.

    1.20   Mixed Property. “Mixed Property” shall mean any Affected Property in which
           the KPT Drywall Percentage is less than or equal to 90%.

    1.21   Multiple Unit Property. “Multiple Unit Property” shall mean an Affected
           Property that contains more than one living unit.

    1.22   Multiple Unit Property Governing Body. “Multiple Unit Property Governing
           Body” shall mean the person(s) or entity(ies) having the legal authority or control
           to bind a Multiple Unit Property, including but not limited to, a condominium
           association.

    1.23   Non-KPT Chinese Drywall. “Non-KPT Chinese Drywall” shall mean any and
           all reactive drywall products manufactured, sold, marketed, distributed, and/or
           supplied by a Chinese manufacturer other than KPT, including but not limited to,
           any reactive drywall manufactured or sold by Taishan Gypsum Co., Ltd. f/k/a
           Shandong Taihe Dongxin Co., Ltd.; Taian Taishan Plasterboard, Ltd.; Pingyi
           Zhongxin Paper-Faced Plasterboard Co., Ltd. f/k/a Shandong Chenxiang Building
           Materials Co., Ltd.; Crescent City Gypsum, Inc.; Beijing New Building Materials
           Public Ltd. Co., China National Building Material Co., Ltd., or China National
           Building Material Group Corporation. Counterfeit drywall products that purport
           to be manufactured by KPT, but that are in fact manufactured by an entity other
           than KPT shall not be considered “L&W Supplied KPT Chinese Drywall” and
           shall be considered “Non-KPT Chinese Drywall” only if the drywall is reactive.
           “Non-KPT Chinese Drywall” shall not include drywall products manufactured,
           sold, marketed, distributed, and/or supplied by Wuhu or Dongguan and shall not
           include drywall bearing the Lower-Case “TianJin, China” markings.

    1.24   Order and Judgment. “Order and Judgment” shall mean an order and judgment
           entered by the Court that:

           1.24.1 Certifies the L&W Class pursuant to Fed. R. Civ. P. 23(b)(3);
Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 7 of 30




           1.24.2 Finds that the Settlement is fair, reasonable, and adequate, was entered
                  into in good faith and without collusion, and should be approved; and
                  approves the Settlement;

           1.24.3 Approves the Class Release provided in Section 5.1 and orders that, as of
                  the Effective Date, the Released Claims as defined in Section 5.1 of the
                  Knauf Class Settlement will be released as to USG and L&W;

           1.24.4 Enjoins and forever bars any and all Participating L&W Class Members
                  from commencing and/or maintaining any action, legal or otherwise,
                  against USG and L&W arising out of, or otherwise relating to, L&W
                  Supplied KPT Chinese Drywall or any drywall manufactured by KPT;

           1.24.5 Finds that the indemnity, defense and judgment reduction provisions in
                  Sections 5.2.4 and 5.2.5 are valid, binding, and enforceable; and therefore,
                  bars the assertion by any entity or person against USG and L&W of any
                  contribution, indemnification, subrogation, or other claims arising out of
                  (i) the Participating L&W Class Members’ L&W Supplied KPT Chinese
                  Drywall Claims or (ii) this Settlement;

           1.24.6 Finds that, pursuant to Fed. R. Civ. P. 54(b), there is no just reason for
                  delay of entry of final judgment with respect to the foregoing.

    1.25   Other Approved Contractor. “Other Approved Contractor” shall mean an
           “Other Approved Contractor” under the Knauf Class Settlement.

    1.26   Other Releasee. “Other Releasee” shall mean any person or entity that supplied,
           installed or facilitated and/or assisted in such supply or installation of L&W
           Supplied KPT Chinese Drywall, including but not limited to (a) USG and L&W,
           and (b) Importers, Suppliers, Builders, Developers, General Contractors,
           Installers, Realtors, Subcontractors, and Subsuppliers that (i) purchased or
           received L&W Supplied KPT Chinese Drywall, or used L&W Supplied KPT
           Chinese Drywall in the construction of Affected Property, or (ii) sold or marketed
           Affected Property containing L&W Supplied KPT Chinese Drywall, and (iii) all
           of their respective past, present and future owners, partners, shareholders,
           officers, directors, agents, attorneys, employees, parents, associates, subsidiaries,
           divisions, affiliates, insurers and all predecessors and successors, assigns, or legal
           representatives, except for Excluded Releasees. Importers, Suppliers, Builders,
           Developers, General Contractors, Installers, Realtors, Subcontractors, and
           Subsuppliers shall have the same meaning as those capitalized terms in the Knauf
           Class Settlement.
Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 8 of 30




           1.26.1 A person or entity can be both an Other Releasee and an Excluded
                  Releasee if some but not all of his (its) insurers participate in the
                  Prospective Insurer Agreement or other settlement with the PSC and the
                  Knauf Defendants. In that case, the person or entity will be treated as an
                  Other Releasee with respect to uninsured claims and claims insured by
                  participating insurers and as an Excluded Releasee with respect to claims
                  insured by the non-participating insurers.

    1.27   Participating L&W Class Member. “Participating L&W Class Member” shall
           mean all L&W Class Members who do not opt out of the Settlement as provided
           in Sections 8.1 and 8.2.

    1.28   Prospective Insurer Agreement. “Prospective Insurer Agreement” shall mean
           an agreement negotiated, or to be negotiated, between the PSC and the Knauf
           Defendants on the one hand, and the insurers for Other Releasees (other than USG
           and L&W) on the other. The Prospective Insurer Agreement shall not release any
           liability of a surety, as opposed to an insurer.

    1.29   Related Actions. “Related Actions” shall mean state, federal, international
           tribunal or arbitration claims relating to L&W Supplied KPT Chinese Drywall,
           regardless of whether the Settling Defendants are parties, including, but not
           limited to, the matters identified in Exhibit 4 hereto.

    1.30   Related Claims. “Related Claims” shall mean claims against the Settling
           Defendants arising out of or related to L&W Supplied KPT Chinese Drywall that
           could have been asserted in the Litigation or a Related Action.

    1.31   Released Claims. “Released Claim” or “Released Claims” shall mean any and
           all claims as more fully identified in Section 5.1 of the Knauf Class Settlement.

    1.32   Remediation Fund. “Remediation Fund” shall mean the fund established
           pursuant to Section 4.2 of the Knauf Class Settlement.

    1.33   Remediation Protocol. “Remediation Protocol” shall mean the protocol for
           remediating Affected Properties attached as Exhibit F to the Knauf Class
           Settlement.

    1.34   Remediation Settlement Benefits. “Remediation Settlement Benefits” shall
           mean the benefits provided by the Remediation Fund under the terms and
           conditions of the Knauf Class Settlement.
    Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 9 of 30




        1.35   Settlement. “Settlement” shall mean this Settlement Agreement and all of the
               attached exhibits incorporated herein by reference.

        1.36   Settling Defendants. “Settling Defendants” shall mean USG, L&W and the
               Knauf Defendants.

        1.37   Under Air Area. “Under Air Area” shall mean the under air area of an Affected
               Property as determined by the Lead Contractor or Other Approved Contractor and
               as set forth in the Sample Contractor-KPT Property Owner Agreement attached as
               Exhibit 1 to the Remediation Protocol.

2       Effective Date

        2.1    It shall be a condition precedent to the Settling Defendants’ and PSC’s obligations
               under this Settlement that the Knauf Class Settlement become Final. If the Knauf
               Class Settlement does not become Final, this Settlement shall be null and void;
               however the Knauf/L&W Agreement shall remain in effect.

        2.2    The “Effective Date” of this Settlement shall be the date when the Settlement
               becomes Final. “Final” means:

               2.2.1   If no objections to the Settlement are filed, or if any objections are filed
                       and voluntarily withdrawn prior to entry of the Order and Judgment, then
                       the date thirty (30) days following the approval by the Court of the Order
                       and Judgment and its entry onto the Court’s docket if there is no appeal; or

               2.2.2   If any objections are filed and not voluntarily withdrawn prior to the entry
                       of the Order and Judgment, then the later of: (a) the expiration of time to
                       file or notice any appeal or move for reargument from the Court’s Order
                       and Judgment approving this Settlement; or (b) the date of final
                       affirmance of any appeals therefrom.

3       Settlement of All Claims Against USG and L&W

        3.1    The Settlement will settle and resolve with finality the Litigation, the Released
               Claims, and the Related Claims against the Settling Defendants and any other
               claims that have been brought, could have been brought or could be brought now
               or at any time in the future against the Settling Defendants in the Litigation or any
               other proceeding relating to L&W Supplied KPT Chinese Drywall or drywall
               manufactured by KPT, whether legal or otherwise.
    Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 10 of 30




        3.2   The Settlement will not settle or release any claims by way of subrogation,
              contribution or indemnification that the Settling Defendants may have against
              third parties arising out of, in any manner related to, or connected in any way
              with L&W Supplied KPT Chinese Drywall. The Settlement also will not settle or
              release any claims relating to L&W Supplied KPT Chinese Drywall that the
              Settling Defendants hold due to an assignment from a Participating L&W Class
              Member or other party. The Parties will not interfere with the Settling
              Defendants’ rights or efforts to assert claims by way of subrogation, contribution
              or indemnity against third parties arising out of, in any manner related to, or
              connected in any way with L&W Supplied KPT Chinese Drywall.

4       Settlement Benefits

        4.1   In consideration of settlement of all L&W Supplied KPT Chinese Drywall Claims
              against USG and L&W by the Participating L&W Class Members, the Settling
              Defendants agree as follows:

              4.1.1   Pursuant to the Knauf/L&W Agreement, on behalf of each Participating
                      L&W Class Member who owns a KPT Property, L&W shall pay to the
                      Knauf Defendants an amount equal to the Cash Payment for each KPT
                      Property less the Attorneys’ Fees and Costs Allocation as provided in
                      Section 15 (“Net KPT Property Cash Payment”). The Knauf Defendants
                      shall deposit an amount equal to the Net KPT Property Cash Payment into
                      the Remediation Fund, which amount shall be applied toward Remediation
                      Settlement Benefits for the Participating L&W Class Member. L&W shall
                      deposit an amount equal to the Attorneys’ Fees and Costs Allocation into
                      an L&W Attorneys’ Fees and Costs Fund to be established pursuant to an
                      order of the Court.

              4.1.2   Pursuant to the Knauf/L&W Agreement, on behalf of each Participating
                      L&W Class Member who owns a Mixed Property, L&W shall pay to the
                      Knauf Defendants an amount equal to the Cash Payment for each Mixed
                      Property multiplied by the KPT Drywall Percentage less the Attorneys’
                      Fees and Costs Allocation (“Net Mixed Property Cash Payment”). The
                      Knauf Defendants shall deposit an amount equal to the Net Mixed
                      Property Cash Payment into the Remediation Fund which amount shall be
                      applied toward Remediation Settlement Benefits for the Participating
                      L&W Class Member. L&W shall deposit an amount equal to the
                      Attorneys’ Fees and Costs Allocation into an L&W Attorneys’ Fees and
                      Costs Fund to be established pursuant to an order of the Court.
Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 11 of 30




          4.1.3   The Square Footage of each Affected Property shall be determined by the
                  Lead Contractor or Other Approved Contractor using the American
                  National Standard for Single-Family Residential Building’s methodology,
                  attached as Exhibit 1.8 to the Remediation Protocol.

                  4.1.3.1 The Square Footage of garages, attics, or basements shall not be
                          used to calculate the Under Air Area used as the basis for the Cash
                          Payment.

          4.1.4   The KPT Drywall Percentage shall be determined by an inspector
                  according to the procedures set forth in the Inspection Protocol.

                  4.1.4.1 For Multiple Unit Properties that are Mixed Properties, the KPT
                          Drywall Percentage shall be determined according to the
                          methodology set forth in Section 4.3.6.1.4 of the Knauf Class
                          Settlement.

                  4.1.5   A claim may qualify as an Approved Claim under this Settlement
                          even though (a) the property does not currently contain L&W
                          Supplied KPT Chinese Drywall (for example, if it has already been
                          remediated and the owner has not previously settled his or her
                          claim) if the owner provides proof that the property at one time
                          qualified as a KPT Property or Mixed Property, as the case may be,
                          and the property and the current owner otherwise meet the
                          qualifications for the L&W Class and the Knauf Class Settlement;
                          or (b) the Affected Property is in foreclosure proceedings or has
                          been foreclosed upon by a financial institution but otherwise
                          qualifies for Remediation Settlement Benefits under the Knauf
                          Class Settlement; or (c) the Participating L&W Class Member has
                          vacated the Affected Property prior to remediation but the Affected
                          Property otherwise qualifies for Remediation Settlement Benefits
                          under the Knauf Class Settlement. Participating L&W Class
                          Members whose claims are based on Foreclosed Properties, as
                          defined in the Knauf Class Settlement, shall be entitled to the
                          benefits described in the Knauf Class Settlement.

          4.1.6   For purposes of administrative efficiency, L&W shall make the Net KPT
                  Property Cash Payments and/or Net Mixed Property Cash Payments to the
                  Knauf Defendants and deposit the Attorneys’ Fees and Costs Allocation
                  into the L&W Attorneys’ Fees and Costs Fund as set forth in Sections
    Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 12 of 30




                      4.1.1 and 4.1.2 by the 10th day of each month, for all Approved Claims
                      for which L&W has received the determination by the Lead Contractor or
                      Other Approved Contractor of the square footage of Under Air Area of an
                      Affected Property of a Participating L&W Class Member during the
                      previous month. Within ten (10) days of receipt from L&W, the Knauf
                      Defendants shall deposit an amount equal to the Net KPT Property Cash
                      Payments and/or Net Mixed Property Cash Payments into the Remediation
                      Fund. To qualify as an Approved Claim for which payment is required
                      pursuant to Sections 4.1 and 15, the claimant must meet the requirements
                      of being an L&W Class Member and, if L&W reasonably disputes that it
                      supplied L&W Supplied KPT Chinese Drywall to the Affected Property,
                      must submit proof that L&W delivered the L&W Supplied KPT Chinese
                      Drywall to the Affected Property by a contemporaneous document, such
                      as an invoice or delivery ticket, showing that L&W delivered ½” drywall
                      to the Affected Property after May 17, 2006. A list of properties in the
                      Litigation to which L&W does not dispute that it supplied ½” drywall
                      after May 17, 2006 is attached as Exhibit 5.

              4.1.7   The Parties understand and agree that the maximum combined
                      contribution, including attorneys’ fees and costs, of L&W and USG for
                      any Affected Property shall be a total of $7 per square foot “Under Air
                      Area” for the Affected Property, including any prior payments made by
                      L&W in connection with the Affected Property. L&W and USG will have
                      no other payment obligations with respect to this Settlement and the Knauf
                      Class Settlement other than $7 per square foot “Under Air Area” for the
                      Affected Properties covered by this Settlement. L&W and USG shall not
                      be liable for any loss in value or other loss or impairment of funds after
                      payment by L&W as required under this Settlement, including any loss
                      incurred in or resulting from the investment or reinvestment of funds, or
                      any costs or attorneys’ fees in connection with the administration of the
                      Settlement funds or the Settlement.

5       Release

        5.1   Class Release

              5.1.1   As Other Releasees, USG and L&W shall be full beneficiaries of the
                      release provided in Section 5.2 of the Knauf Class Settlement.

              5.1.2   The execution of the Settlement shall not be construed as a release of, any
                      claims the Participating L&W Class Members may have against any
Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 13 of 30




                  person and/or entity other than the Settling Defendants and the Other
                  Releasees. All Participating L&W Class Members reserve all claims
                  (including, but not limited to, any and all rights and causes of action, no
                  matter how arising, under any ordinance, code, law, statute, federal or
                  state, pending or dismissed, known or unknown) against any person and/or
                  entity, other than the Settling Defendants and the Other Releasees named,
                  or who could have been named in the Litigation or Related Actions,
                  including but not limited to manufacturers of Non-KPT Chinese Drywall.

          5.1.3   To avoid inconvenience to the Settling Defendants, in any action in which
                  any Settling Defendant is or may be a defendant or a third-party defendant
                  together with other alleged tortfeasors, the Parties agree that each of the
                  Participating L&W Class Members shall accept in satisfaction of any
                  judgment an amount reduced to the extent necessary (under applicable
                  state law whether it be pro rata, pro tanto, and/or set off) to extinguish
                  any claims by the other alleged tortfeasors against the Settling Defendants
                  for contribution, indemnity (common law or contractual) and/or
                  subrogation, whether arising out of tort, contract or otherwise. This
                  provision is intended to obviate the necessity and expense of having the
                  Settling Defendants remain a party on the record and obliged to participate
                  in a trial merely for the purpose of determining if in fact any Settling
                  Defendant was a tortfeasor so as to entitle the other tortfeasors to a pro
                  rata or pro tanto reduction or set-off of any judgment. It is the further
                  intent of the Parties that the Settling Defendants shall have no further
                  liability in connection with the Released Claims. However, this provision
                  does not constitute an admission of liability by the Settling Defendants.

          5.1.4   As of the Effective Date, to the extent of each Participating L&W Class
                  Member’s Cash Payment, and to the extent the claim described in this
                  Section arises out of the claim of that Participating L&W Class Member,
                  each Participating L&W Class Member shall defend, indemnify, and hold
                  harmless each of the Settling Defendants from and against (a) any and all
                  claims by, on behalf of, through, or deriving from the Participating L&W
                  Class Member’s executors, representatives, attorneys or former attorneys,
                  successors, employers, insurers, employers’ insurers, health insurers,
                  health care providers, assignees, subrogees, predecessors in interest,
                  successors in interest, beneficiaries or survivors; and (b) any claims for
                  contribution, common law indemnity, contractual indemnity, and/or
                  subrogation, whether arising under tort, contract or otherwise, related in
                  any way to the Released Claims of said Participating L&W Class Member
                  released by this Settlement.
    Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 14 of 30




               5.1.5   It is expressly understood and agreed that the indemnity, defense, and
                       judgment reduction obligations detailed above shall exist regardless of the
                       legal basis for the claim, demand, cause of action, right of action, liability,
                       lien, or judgment demand asserted by any person or entity to the extent
                       related to the Released Claims against any Settling Defendant. In
                       particular, the Participating L&W Class Members expressly bind
                       themselves to the foregoing indemnity, defense and judgment reduction
                       obligations regardless of whether the claim, demand, suit, liability, lien,
                       judgment, cause of action, or right of action is based on or related to (a)
                       the negligence of any of the Settling Defendants, sole or concurrent; (b)
                       the strict liability of any of the Settling Defendants under any theory
                       whatsoever; (c) the absolute liability of any of the Settling Defendants; (d)
                       the wanton, reckless, or willful misconduct of any of the Settling
                       Defendants; (e) any actual, alleged or purported right, asserted by any
                       Settling Defendant or any Participating L&W Class Member under a
                       policy of insurance issued by one or more insurers; or (f) any other basis
                       whatsoever.

6       Certification of Federal Rule of Civil Procedure 23(b)(3) Settlement Class and
        Related Motions

        6.1    This Settlement shall be subject to approval of the Court.

        6.2    Within ten (10) days of the Execution Date, the PSC and the Settling Defendants
               will move jointly for an Order:

               6.2.1   Preliminarily certifying an L&W Class and approving the Settlement (the
                       “Preliminary Approval Order”); and

               6.2.2   Staying all L&W Supplied KPT Chinese Drywall Claims as to the Settling
                       Defendants in the Litigation, in Related Actions and as to Related Claims,
                       pending Final Approval of the Settlement.

        6.3    The Settling Defendants shall have the right to withdraw from the Settlement if
               the Court does not issue any of the requested orders (including the Order and
               Judgment) or if the L&W Class is not certified.

        6.4    The Parties will stipulate to the Court in the request for entry of the Preliminary
               Approval Order and at the Certification Hearing that (i) the L&W Class is being
               certified for settlement purposes only pursuant to the Settlement, (ii) the Settling
    Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 15 of 30




              Defendants reserve the right to object to class certification de novo in the event
              this Settlement is terminated for any reason, including termination pursuant to
              Section 13, and (iii) this Settlement shall have no precedential effect with regard
              to certification of a litigation class that may arise if this matter is not fully and
              completely resolved through this settlement effort, or otherwise and may not be
              cited in any class certification proceeding contested by the Settling Defendants.

7       Notice to Class Members

        7.1   Upon entry of the Preliminary Approval Order preliminarily certifying the L&W
              Class as defined in Section 1.1.4, L&W Class Counsel will disseminate the L&W
              Class Notice (“Notice”) approved by the Court as follows:

              7.1.1   By first-class mail to the last known address of the following persons and
                      entities: (i) all plaintiffs in the Litigation who, as of December 9, 2011,
                      asserted claims arising from, or otherwise related to L&W Supplied KPT
                      Chinese Drywall, (ii) all named plaintiffs in the Omni complaints in MDL
                      No. 2047 who, as of December 9, 2011, asserted claims arising from, or
                      otherwise related to, L&W Supplied KPT Chinese Drywall, (iii) all named
                      plaintiffs in all Related Actions who, as of December 9, 2011, asserted
                      claims arising from, or otherwise related to, L&W Supplied KPT Chinese
                      Drywall, and (iv) the counsel of all the foregoing;

              7.1.2   By providing a copy of the Notice and requesting that it be posted on the
                      Court’s Chinese Drywall MDL website; and

              7.1.3   As the Court may direct.

        7.2   The Notice shall be jointly agreed upon and submitted to the Court together with
              the motion for preliminary approval.

        7.3   The Preliminary Approval Order shall specify the date by which Notice will be
              provided.

        7.4   Payment for Notice. The Knauf Defendants will pay the costs of providing the
              Notice.

8       Opt-Out

        8.1   Opt-Out Period
Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 16 of 30




          8.1.1   Upon close of the L&W Class Notice Period, L&W Class Members will
                  have forty-five (45) days (or such different period as the Court may direct)
                  to opt out of the Settlement in accordance with Section 8.2. If the
                  Settlement is finally approved by the Court, all L&W Class Members who
                  have not opted out by the end of the forty-five (45) day period will be
                  bound by the Settlement, and the relief provided by the Settlement will be
                  their sole and exclusive remedy for the claims alleged by the L&W Class.

    8.2   Opt-Out Process

          8.2.1   Individual L&W Class Members must request to opt out and must sign
                  any requisite pleading or form. A pleading or form or any other request
                  made or signed by counsel shall not be sufficient. An original opt out
                  form signed by the L&W Class Member must be mailed to L&W Class
                  Counsel, Russ M. Herman (Herman, Herman, Katz & Cotlar, LLP, 820
                  O’Keefe Avenue, New Orleans, Louisiana 70113) and Arnold Levin
                  (Levin, Fishbein, Sedran & Berman, 510 Walnut Street, Suite 500,
                  Philadelphia, PA 19106), counsel for USG and L&W, W. David Conner
                  (Haynsworth Sinkler Boyd, P.A., P.O. Box 2048, Greenville, SC 29602),
                  and counsel for the Knauf Defendants, Kerry J. Miller (Frilot LLC, 1100
                  Poydras Street, Suite 3700, New Orleans, Louisiana 70163). The opt-out
                  request must be postmarked within the 45-day period described in Section
                  8.1.1 L&W Class Counsel shall be obliged to file all opt outs with the
                  Court by a date prior to the Fairness Hearing to be determined by the
                  Court.

          8.2.2   This Settlement is an integral part of the Knauf Class Settlement. An
                  L&W Class Member who participates in the Knauf Class Settlement also
                  must participate in this Settlement. The Notice shall advise L&W Class
                  Members that they can receive no benefits under the Knauf Class
                  Settlement if they opt out of this Settlement. Any opt out from this
                  Settlement will be invalid if the L&W Class Member did not timely opt
                  out of the Knauf Class Settlement.

          8.2.3   The Parties shall seek an order of the Court compelling mediation of opt-
                  out claims.

    8.3   Rights With Respect to Opt-Outs

          8.3.1   The Parties agree and acknowledge that any opt-out may be detrimental to
                  the Settling Defendants, so that each of them will have a right to terminate
    Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 17 of 30




                      the Settlement on account of the existence of any opt out.

              8.3.2   If any L&W Class Members remain as opt outs fourteen (14) days prior to
                      the Fairness Hearing, then each of the Settling Defendants individually has
                      the right, acting at its sole and exclusive discretion and option to terminate
                      the Settlement. This right to terminate the Settlement must be exercised
                      by written notice to the Court seven (7) days before the Fairness Hearing.
                      If timely exercised, the Settling Defendants’ exercise of their rights under
                      this Section shall not be reviewable by the Court.

9       Objections

        9.1   Any L&W Class Member who has any objection to certification of the L&W
              Class, or to approval of this Settlement or any terms hereof, or to the approval
              process must make that objection by the following procedure:

              9.1.1   The objection must be in writing;

              9.1.2   The objection must set forth all objections and the reasons therefore, and a
                      statement whether the L&W Class Member intends to appear at the
                      Certification Hearing or Fairness Hearing either with or without separate
                      counsel. The objection must identify any witnesses intended to be called,
                      the subject area of the witnesses’ testimony, and all documents to be used
                      or offered into evidence, at the Certification Hearing or Fairness Hearing;

              9.1.3   The objection must be signed by the individual L&W Class Member and
                      his/her/its counsel; an objection signed by counsel alone shall not be
                      sufficient;

              9.1.4   The objection must contain the caption of the Litigation and include the
                      name, mailing address, e-mail address, if any (an e-mail address is not
                      required), and telephone number of the objecting L&W Class Member;
                      and

              9.1.5   The objection must be mailed to L&W Class Counsel, Russ M. Herman
                      (Herman, Herman, Katz & Cotlar, LLP, 820 O’Keefe Avenue, New
                      Orleans, Louisiana 70113) and Arnold Levin (Levin, Fishbein, Sedran &
                      Berman, 510 Walnut Street, Suite 500, Philadelphia, PA 19106), counsel
                      for USG and L&W, W. David Conner (Haynsworth Sinkler Boyd, P.A.,
                      P.O. Box 2048, Greenville, SC 29602), and counsel for the Knauf
                      Defendants, Kerry J. Miller (Frilot LLC, 1100 Poydras Street, Suite 3700,
 Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 18 of 30




                   New Orleans, Louisiana 70163). The objection must be postmarked by
                   the date prescribed by the Court. L&W Class Counsel shall be obliged to
                   file all objections with the Court by a date prior to the Certification
                   Hearing and the Fairness Hearing to be determined by the Court.

     9.2    Failure to comply timely and fully with these procedures shall result in the
            invalidity and dismissal of any objection. No L&W Class Member shall be
            entitled to be heard at the Certification Hearing or Fairness Hearing (whether
            individually or through the objector’s counsel), or to object to certification of the
            L&W Class or to the Settlement, and no written objections or briefs submitted by
            any L&W Class Member shall be received or considered by the Court at the
            Certification Hearing or Fairness Hearing, unless written notice of the L&W Class
            Member’s objection and any brief in support of the objection have been filed with
            the Court and served upon L&W Class Counsel and the Settling Defendants’
            Counsel not later than twenty (20) days before the date of the Certification
            Hearing or the Fairness Hearing as appropriate, in accordance with Section 9.1.

     9.3    Any L&W Class Member to whom Notice was sent who fail to file and serve
            timely written objections in accordance with Section 9.1 shall be deemed to have
            waived any objections and shall be foreclosed from making any objection
            (whether by appeal or otherwise) to the certification of the L&W Class or to the
            Settlement.

     9.4    The PSC and the Settling Defendants shall file any response to the objections with
            the Court no later than five (5) days before the date of the Fairness Hearing.

10   Fairness Hearing

     10.1   Within ten (10) days of the entry of the Preliminary Approval Order, L&W Class
            Counsel shall request that the Court hold a joint Fairness Hearing with the
            Fairness Hearing to consider the Knauf Class Settlement. The Fairness Hearing
            shall not be held until after the Opt-Out Period has concluded.

     10.2   At the Fairness Hearing the Court shall, inter alia, (i) consider any properly filed
            objections to the Settlement, (ii) determine de novo whether the Settlement is fair,
            reasonable, and adequate, was entered into in good faith and without collusion,
            and should be approved, and shall provide findings in connection therewith, and
            (iii) enter the Order and Judgment, including final approval of the L&W Class and
            Settlement.

11   Dismissals
 Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 19 of 30




     11.1   Within thirty (30) days of the Effective Date:

            11.1.1 The Parties shall jointly submit to the Court a proposed order or orders
                   dismissing with prejudice as to the Settling Defendants (i) all Omni
                   Complaints filed in MDL No. 2047, but only to the extent that they assert
                   claims against the Settling Defendants, and (ii) all Related Actions
                   pending in the Eastern District of Louisiana and/or MDL No. 2047, but
                   only to the extent that they assert claims against the Settling Defendants;

            11.1.2 The members of the PSC shall file motions to dismiss with prejudice all
                   Related Actions against the Settling Defendants by Participating L&W
                   Class Members whom they represent, which are pending in any state court
                   and/or in any federal court outside the Eastern District of Louisiana or
                   MDL 2047, but only to the extent that they assert claims against the
                   Settling Defendants;

            11.1.3 The PSC shall use its best efforts to assist the Settling Defendants in
                   obtaining dismissal with prejudice of any other Related Actions
                   maintained by any Participating L&W Class Member, but only to the
                   extent that they assert claims against the Settling Defendants, whether in
                   state court, federal court or any arbitral forum.

     11.2   The dismissal orders, motions or stipulation to implement Section 11.1 shall seek
            or provide for a dismissal with prejudice, with each Participating L&W Class
            Member and Settling Defendant bearing its own attorneys’ fees and costs, and
            waiving any rights of appeal.

12   Bar Order

     12.1   As part of the Order and Judgment, the Court shall issue a bar order and
            permanent injunction against any and all pending or future claims against the
            Settling Defendants arising from, or otherwise relating to, L&W Supplied KPT
            Chinese Drywall or drywall manufactured by KPT.

     12.2   The bar order and permanent injunction shall:

            12.2.1 Enjoin and forever bar any and all Class Members from commencing
                   and/or maintaining any action, legal or otherwise, against the Settling
                   Defendants arising out of, or otherwise relating to, L&W Supplied KPT
                   Chinese Drywall or drywall manufactured by KPT;
 Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 20 of 30




            12.2.2 Bar the assertion by any entity or person against the Settling Defendants of
                   any contribution, indemnification, subrogation, or other claims arising out
                   of (i) the Class Members’ L&W Supplied KPT Chinese Drywall claims or
                   (ii) this Settlement.

     12.3   This provision is not intended to prevent or impede the enforcement of claims or
            entitlement to benefits under this Settlement.

     12.4   As used in this Section 12, “Class Members” includes Class Members as defined
            in the Knauf Class Settlement and L&W Class Members as defined in this
            Settlement.

13   Termination of This Settlement

     13.1   This Settlement shall be terminated and cancelled upon any of the following
            events:

            13.1.1 The Court declines to enter the Preliminary Approval Order;

            13.1.2 The Fairness Hearing is not held by the Court;

            13.1.3 The Order and Judgment is not entered by the Court, or is reversed by a
                   higher court, or is inconsistent with the terms of the Settlement; or

            13.1.4 The Court declines to dismiss the Settling Defendants with prejudice.

     13.2   In addition to any other right to terminate under this Settlement, the Settling
            Defendants may, at their sole and exclusive discretion and option, withdraw from,
            terminate, and cancel their obligations under this Settlement upon any of the
            following events:

            13.2.1 The Settling Defendants exercise their rights regarding opt-outs pursuant
                   to Section 8.3;

            13.2.2 The L&W Class Settlement Notice does not comply with Section 7.1 or
                   with the order of the Court concerning Notice;

            13.2.3 The Knauf Class Settlement is terminated or otherwise does not become
                   Final;
 Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 21 of 30




            13.2.4 The PSC, acting on behalf of the L&W Class or the Class, materially
                   breaches the Settlement and such breach materially frustrates the purposes
                   of this Agreement;

            13.2.5 The dismissals as provided in Sections 11.1.1, 11.1.2. and 11.2 do not
                   occur as provided in Section 10;

            13.2.6 The bar order and permanent injunction as provided in Section 12.2 are
                   not entered by the Court as provided in Section 12;

            13.2.7 This Settlement is changed in any material respect, except by written
                   consent of the Parties.

     13.3   Termination of this Settlement shall not affect the Knauf/L&W Agreement, which
            shall remain in effect regardless of termination of this Settlement.

14   Court to Retain Jurisdiction to Implement and Enforce Settlement

     14.1   Notwithstanding any other provision of this Settlement, the Court shall retain (a)
            continuing jurisdiction over the Litigation, the L&W Class, the Participating
            L&W Class Members, and the Settlement for the purposes of administering,
            supervising, construing and enforcing the Settlement; and (b) continuing and
            exclusive jurisdiction over (i) the Settlement funds and (ii) the transfer or
            distribution of same for the benefit of Participating L&W Class Members.

15   Attorneys’ Fees Pursuant to Knauf/L&W Agreement

     15.1   Subject to and consistent with any order entered by the Court, the Parties agree
            that in satisfaction of L&W’s obligations to the Knauf Defendants under the
            Knauf/L&W Agreement, L&W shall pay attorneys’ fees and reasonable and
            appropriate expenses (collectively “Attorneys’ Fees”) (to be allocated among the
            PSC, common benefit counsel authorized by and working at the direction of the
            PSC, L&W Class Counsel and individual retained counsel), the calculation and/or
            amount of which will be determined by a separate agreement between the PSC,
            the Knauf Defendants and USG and L&W, which will be submitted to the Court
            for approval. In the event that the PSC, the Knauf Defendants and USG and
            L&W are unable to agree on the calculation and/or amount of Attorneys’ Fees
            within six months of the Effective Date, the dispute will be submitted to the Court
            for resolution. In either event, no distribution of Attorneys’ Fees will take place
            without the approval of the Court, and the ruling of the Court regarding
            Attorneys’ Fees shall be non-appealable.
 Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 22 of 30




     15.2   Any award of attorneys’ fees and costs shall be allocated pro rata to each
            Participating L&W Class Member (“Attorneys’ Fees and Costs Allocation”). To
            satisfy any such award, the Attorneys’ Fees and Costs Allocation shall be
            subtracted from the Cash Payment owed to the Knauf Defendants on behalf of
            each Participating L&W Class Member under Section 4 of this Agreement.

     15.3   For all Approved Claims, L&W’s payment of the Attorneys’ Fees and Cost
            Allocation for each Affected Property shall be made on a monthly basis as
            described in Section 4.1.6.

16   Representations

     16.1   L&W Class Counsel represent that they have obtained the requisite authority from
            all members of the PSC to enter this Settlement in a manner that binds each PSC
            member to its terms.

     16.2   The Knauf Defendants represent that they have obtained the requisite authority to
            enter this Settlement in a manner that binds each of them to its terms.

     16.3   L&W and USG represent that they have obtained the requisite authority to enter
            this Settlement in a manner that binds each of them to its terms.

17   Miscellaneous

     17.1   The Settling Defendants agree to cooperate with reasonable requests for
            documents and other information related to continuing litigation against other
            defendants in the Litigation and Related Actions.

     17.2   The Settling Defendants do not admit or concede any liability or damages
            whatsoever relating to L&W Supplied KPT Chinese Drywall.

     17.3   All persons should be on notice of their continuing duty to monitor the Court’s
            docket for the most current filings and information. The Court, in its discretion,
            may alter, postpone or amend any of the deadlines scheduled by the Court in
            connection with the certification of the L&W Class and the approval of this
            Agreement without additional formal notice. Orders of any such changes are
            expected to be presented on the Court’s website:
            http://www.laed.uscourts.gov/Drywall/Drywall.htm.

     17.4   Any L&W Class Member (or his or her attorney) who submits false or
 Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 23 of 30




            intentionally misleading information, through any form of deception, dishonesty
            or fraud shall be subject to appropriate sanctions (including monetary sanctions
            and costs).

     17.5   This Agreement is the product of arm’s length negotiations between the PSC and
            the Settling Defendants. Neither the PSC nor the Settling Defendants shall be
            deemed the drafter of this Agreement or any provision thereof. No presumption
            shall be deemed to exist in favor of or against either the PSC or the Settling
            Defendants as a result of the preparation or negotiation of this Agreement.

     17.6   This Agreement shall be governed by, and construed and enforced according
            with, the substantive laws of the State of Florida without regard to conflict of laws
            principles.

     17.7   This Agreement, including its exhibits, constitutes the entire agreement between
            the Parties. The Parties have not received or relied on any agreements or
            promises other than as contained in writing in this Agreement, including its
            exhibits. Prior drafts shall not be used to construe this Agreement.

     17.8   This Agreement may not be modified or amended unless such modification or
            amendment is in writing executed by all Parties.

     17.9   This Agreement may be executed in multiple counterparts, all of which taken
            together constitute one and the same Agreement.

     17.10 This Settlement supplements but does not supersede the Knauf/L&W Agreement,
           which remains in effect. Nothing in this Settlement is intended to be or shall be
           construed to alter the Knauf/L&W Settlement, and, in the event of inconsistency,
           its terms shall control, except that L&W, USG and the Knauf Defendants agree to
           the calculation and distribution of the Cash Payment and Attorneys’ Fees and
           Costs Allocation as described in Sections 4 and 15 of this Settlement.

18   Federal Rule of Evidence 408

     18.1   The Parties specifically acknowledge, agree and admit that this Settlement and its
            exhibits, along with all related drafts, motions, pleadings, conversations,
            negotiations, correspondence, orders or other documents shall be considered a
            compromise within the meaning of Federal Rules of Evidence Rule 408, and any
            equivalent rule of evidence of any state, and shall not (i) constitute, be construed,
            be offered, or received into evidence as an admission of the validity of any claim
            or defense, or the truth of any fact alleged or other allegation in the Litigation, the
Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 24 of 30
Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 25 of 30
 Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 26 of 30




For the Knauf Defendants:

Witnesses:                           Knauf Plasterboard (Tianjin) Co., Ltd.

                                     By:

Print Name:                          Print Name:

                                     Title:

                                     Date:
Print Name:

Witnesses:                           Knauf Plasterboard (Wuhu) Co., Ltd.

                                     By:

Print Name:                          Print Name:

                                     Title:

                                     Date:
Print Name:
 Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 27 of 30




Witnesses:                           Guangdong Knauf New Building Material
                                     Products Co., Ltd.

                                     By:

Print Name:                          Print Name:

                                     Title:

                                     Date:
Print Name:

Witnesses:                           Knauf Gips KG

                                     By:

Print Name:                          Print Name:

                                     Title:

                                     Date:
Print Name:

Witnesses:                           Gebr. Knauf Verwaltungsgesellschaft KG

                                     By:

Print Name:                          Print Name:

                                     Title:

                                     Date:
Print Name:
 Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 28 of 30




Witnesses:                           Knauf International GmbH

                                     By:

Print Name:                          Print Name:

                                     Title:

                                     Date:
Print Name:

Witnesses:                           Knauf Insulation GmbH

                                     By:

Print Name:                          Print Name:

                                     Title:

                                     Date:
Print Name:

Witnesses:                           Knauf UK GmbH

                                     By:

Print Name:                          Print Name:

                                     Title:

                                     Date:
Print Name:
Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 29 of 30
Case 2:09-md-02047-EEF-MBN Document 13375-2 Filed 03/29/12 Page 30 of 30
